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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO

Criminal Case No.     19-cr-54 WYD

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. LILY WHEELER,

       Defendant.


                                       INDICTMENT


The Grand Jury charges:

                                        COUNT 1

       On or about August 4, 2017, in the State and District of Colorado, the defendant,

LILY WHEELER, on an aircraft in the special aircraft jurisdiction of the United States,

did knowingly interfere with the duties of D.D., a flight crew member or flight attendant of

the aircraft, and lessen the ability of the member or attendant to perform those duties,

by assaulting and intimidating the flight attendant or flight crew member.

       All in violation of Title 49, United States Code, Section 46504.

                                        COUNT 2

       On or about August 4, 2017, in the State and District of Colorado, the defendant,

LILY WHEELER, on an aircraft in the special aircraft jurisdiction of the United States,

did knowingly interfere with the duties of E.C., a flight crew member or flight attendant of




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the aircraft, and lessen the ability of the member or attendant to perform those duties,

by assaulting and intimidating the flight attendant or flight crew member.

      All in violation of Title 49, United States Code, Section 46504.


                                                A TRUE BILL:




                                                Ink signature on file in Clerk’s Office
                                                FOREPERSON


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